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           IN THE DISTRICT COURT FOR THE DISTRICT OF DELAWARE

                                                        )
 MICHAEL C. TRIMARCO                                    )
                                                        )
                                  Plaintiff,            )
                                                        )
                                                        )
                             v.
                                                        )   C.A. No. 1:20-cv-01408-RGA
                                                        )
 MICHAEL T. FARLEY, SHAWN                               )
 PATRICK CARDEN, MICHAEL A                              )
 HILMER, CHRIS CICOLINI, and                            )
 ASHISH KAPOOR                                          )
                                                        )
                                  Defendant.


                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2021 a copy of the foregoing Affidavit of Non-Service

was filed electronically using the Court’s CM/ECF system, which will send notice of electronic

filing to the Defendants and all interested parties receiving notices via CM/ECF. I also hereby

certify and attest that I have served a true and correct copy of the foregoing filing upon the

counsel listed below via email:

       Chris Cicolini                                         Michael T. Farley
       6886 Woodrise Rd                                       One Courthouse Square
       New Market, MD 21774                                   Newport, RI 02840



                                               BIELLI & KLAUDER, LLC

Dated: March 2, 2021                           /s/ Ryan E. Ernst
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